Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 1 of 62




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 19-cv-61430-FAM

  ELIZABETH E. BELIN,
  CHRISTOPHER MITCHELL,
  KEVIN FURMAN, MITCHELL KIRBY,
  GABRIELLE WATSON and KATHRYN
  SVENSON, individually and on behalf of all                         CLASS ACTION
  others similarly situated,                                         (Jury Trial Demanded)

                 Plaintiffs,

  v.

  HEALTH INSURANCE INNOVATIONS, INC.,
  HEALTH PLAN INTERMEDIARIES
  HOLDINGS, LLC and MICHAEL KOSLOSKE,

              Defendants.
  __________________________________________/

                           AMENDED CLASS ACTION COMPLAINT

         Class Plaintiffs, ELIZABETH E. BELIN, CHRISTOPHER MITCHELL, KEVIN

  FURMAN, MITCHELL KIRBY, GABRIELLE WATSON and KATHRYN SVENSON file this

  amended class action complaint individually and on behalf of all others similarly situated against

  Defendants,    HEALTH        INSURANCE         INNOVATIONS,         INC.,    HEALTH        PLAN

  INTERMEDIARIES HOLDINGS, LLC and MICHAEL KOSLOSKE, and allege as follows:

                                        INTRODUCTION

         1.      Unscrupulous health insurance scammers continue to besiege American

  consumers. One such scam involves the marketing and sale of “limited benefit indemnity plans”

  and “medical discount plans.” These plans are not comprehensive, “major medical” insurance.

  They do not comply with the Affordable Care Act (“ACA”). At best, they are supplemental

  products that defray a fraction of the out-of-pocket costs, such as deductibles, coinsurance and
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 2 of 62

                                                                   CASE NO. 19-cv-61430-FAM


  copays, that sometimes arise from ACA-compliant plans. These products represent less than 1%

  of the health insurance marketplace.

         2.     A group of Florida companies and individuals, working together, defrauded

  hundreds of thousands of consumers nationwide by leading those consumers to believe that their

  limited benefit indemnity plans and medical discount plans were major medical insurance.

  Recently, a federal judge, prompted by a Federal Trade Commission (“FTC”) lawsuit, entered a

  series of orders restraining one of those companies, Simple Health, from conducting further

  business. The court installed receiver Michael I. Goldberg, who found and reported that Simple

  Health was “largely a classic bait-and-switch scam whereby unwitting consumers are falsely led

  to believe that they are purchasing a [PPO] that is compliant with the [ACA], but in reality are

  sold limited benefit indemnity plans that are not compliant with the ACA.”

         3.     This lawsuit takes aim at two of the companies that directed, operated, managed,

  conspired with and/or aided and abetted the enterprise that perpetrated the fraud: Health

  Insurance Innovations, Inc. (“HIIQ”) and Health Plan Intermediaries Holdings, LLC (“HPIH”)

  (collectively, the “HII Defendants”) — and their founder and former CEO, Michael Kosloske.

  The HII Defendants and Kosloske developed the limited benefit indemnity plans and the

  distribution channels through which consumers were defrauded. Simple Health was the largest

  of those distributors. A company called Donisi Jax, Inc. d/b/a Nationwide Health Advisors

  (“Nationwide Health”) was another. The HII Defendants loaned Simple Health and Nationwide

  Health millions of dollars to fund their operations; trained Simple Health’s and Nationwide

  Health’s sales agents; monitored Simple Health’s and Nationwide Health’s compliance

  functions, including their sales calls; reviewed, edited and tacitly or expressly approved the

  fraudulent scripts used by Simple Health and Nationwide Health to sell the products; provided




                                                 2
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 3 of 62

                                                                    CASE NO. 19-cv-61430-FAM


  customer service to customers following those sales, listening to thousands of those customers

  complain that they had been defrauded; collected monthly premiums from those customers;

  accounted for, audited and distributed the commissions and proceeds of those sales; allowed

  dozens of Simple Health sales agents to register their licenses through the HII Defendants;

  directed and paid for legal costs incurred by Simple Health arising out of dozens of regulatory

  investigations; and directed Simple Health and Nationwide Health to use the HII Defendants’

  online platform to quote and sell the HII Defendants’ products.

         4.      In connection with the fraudulent scheme, the HII Defendants paid Simple Health

  and Nationwide Health extremely generous commissions and plied them with millions of dollars

  in financing. As a result, Simple Health developed into the HII Defendants’ largest and most

  profitable third-party distributor of limited benefit indemnity plans, medical discount plans and

  other products, generating hundreds of millions of dollars in fees and premiums — nearly 50%

  of all revenues generated by the HII Defendants. Nationwide Health became a large distributor

  as well and, since the FTC took down Simple Health in late 2018, is now one of the largest (if

  not the largest) distributor for the HII Defendants.

         5.      All of this happened by defrauding that vulnerable group of Americans who do

  not have comprehensive medical insurance. Consumers were told, through a uniform script read

  to them by the distributors’ sales agents, a set of lies and omissions that included, among other

  falsehoods, the misrepresentation that they were purchasing a “PPO” from a reputable, “A-rated”

  insurance carrier. In truth, consumers received “virtually worthless” limited indemnity plans and

  medical discount plans.

         6.      For the HII Defendants’ knowing and substantial assistance to distributors

  including Simple Health and Nationwide Health, and for their part in the enterprise they




                                                    3
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 4 of 62

                                                                    CASE NO. 19-cv-61430-FAM


  developed and directed, the HII Defendants must be held to account to consumers like Class

  Plaintiff Elizabeth Belin. Belin had been recently divorced, without insurance and suffering

  from a preexisting knee injury in early 2016 when she began looking for ACA-compliant

  healthcare. She found one of Simple Health’s dozens of websites, which had misleading names

  like        “Obamacare-healthquotes.com,”           “myobamacareapplication.com”             and

  “healthinsurance2017deadline.com.” Simple Health’s sales agent told her that he was shopping

  among numerous PPOs of “A-rated carriers,” and would find the best one for Belin at the best

  price. Reading from a script, the sales agent’s misrepresentations and omissions led Belin to

  believe she was buying comprehensive medical insurance. Instead, she bought a limited benefit

  indemnity plan and medical discount plan (similar to a “buyer’s club” card), as well as

  Accidental Death & Dismemberment (“AD&D”) insurance that she never requested. She paid

  an enrollment fee of $150 and a monthly premium of $238.77. Belin later had knee replacement

  surgery, only to learn that the surgery was not covered. She received bills in excess of $48,000,

  more than her annual salary.

         7.     Chris Mitchell shared a similar experience.      An advocate for the homeless,

  Mitchell’s employer did not offer health insurance benefits.      Mitchell purchased a limited

  indemnity plan and medical discount plan from Simple Health in early 2016 after listening to a

  sales agent read from the sales script that Simple Health read to Belin and the other class

  members. He paid a $155 enrollment fee and a $206.90 monthly premium. In early 2018,

  Mitchell was diagnosed with an aggressive form of cancer and was immediately scheduled for

  surgery. Just days before that surgery, Mitchell’s hospital told him that he had no insurance

  coverage. Mitchell scrambled to come up with a down payment for the surgery, but ultimately

  received bills exceeding $40,000. He described the difficulties caused by Simple Health and




                                                 4
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 5 of 62

                                                                      CASE NO. 19-cv-61430-FAM


  Defendants as oftentimes more difficult than fighting cancer.

         8.        Kevin Furman of West Palm Beach, Florida, also fell victim. In late 2017, he

  made a search engine request for “major medical inexpensive” and was led to a website

  containing a phone number for Nationwide Health. Furman called the number and was told by

  the sales agent that he would receive major medical insurance to protect against catastrophic

  health costs. Furman paid a $155 enrollment fee and a $562.54 monthly premium. Furman

  continued to pay the monthly premium for about a year, when he was told by his new employer

  that the HII product he had purchased through Donisi Jax was not health insurance.

                                    JURISDICTION AND VENUE

         9.        Subject Matter Jurisdiction. The Court has subject matter jurisdiction pursuant to

  the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1332(d), because (i) the matter in

  controversy exceeds $5 million, exclusive of interest and costs; (ii) there are members of the

  proposed Class (which is comprised of residents of all 50 states) who are citizens of different

  states than Defendants; and (iii) there are in the aggregate more than 100 members of the

  proposed class. This Court also has federal question subject matter jurisdiction pursuant to 18

  U.S.C. § 1964.

         10.       Personal Jurisdiction. This Court has personal jurisdiction over Defendants as

  follows:

         a. The HII Defendants.

              i. This Court has specific personal jurisdiction over the HII Defendants pursuant to

                 Section 48.193(1)(a), Fla. Stat.:

                   1. The HII Defendants maintain their headquarters and principal place of

                      business in Florida.     Both regularly and systematically operate, conduct,

                      engage in and carry on a business or business venture in Florida, and have an


                                                     5
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 6 of 62

                                                                   CASE NO. 19-cv-61430-FAM


                  office or agency in Florida;

              2. As further alleged in this Complaint, each HII Defendant committed one or

                  more tortious acts within Florida; and

              3. Upon information and belief, the HII Defendants own, use, possess and/or

                  hold a mortgage or other lien on real property within Florida.

         ii. This Court has general personal jurisdiction over the HII Defendants pursuant to

            Section 48.193(2), Fla. Stat. The HII Defendants are engaged in substantial and not

            isolated activity within this state, as shown by, among other facts:

              1. The HII Defendants’ principal place of business is in Florida.

              2. From their office in Tampa, the HII Defendants directed and/or aided and

                  abetted the breach of fiduciary duty and fraudulent acts alleged herein through

                  their management of and participation in the RICO enterprise described

                  herein, and through their knowing and substantial assistance of Simple Health

                  and Nationwide Health. From their offices in South Florida, Simple Health

                  and Nationwide Health contacted consumers throughout the country,

                  primarily if not exclusively via telephone. As further described below, during

                  those phone calls Simple Health’s and Nationwide Health’s agents, from

                  offices in South Florida, made misrepresentations and omissions that induced

                  Class Plaintiffs and class members to purchase the HII Defendants’ limited

                  benefit indemnity plans. During those calls, Simple Health and Nationwide

                  Health processed (in Florida) Plaintiffs’ and class members’ payment of

                  enrollment fees and first monthly premiums using the HII Defendants’

                  payment platform.




                                                 6
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 7 of 62

                                                                         CASE NO. 19-cv-61430-FAM


                  3. Subsequent monthly premium payments by Class Plaintiffs and class

                      members were collected by the HII Defendants, which processed those

                      payments in Florida.

                  4. From their Florida offices, the HII Defendants wired commissions to Simple

                      Health’s and Nationwide Health’s offices in South Florida.

                  5. The HII Defendants also financed Simple Health’s and Nationwide Health’s

                      operations and growth by providing millions of dollars in “advanced

                      commissions” and providing Simple Health with a $1 million bonus advance.

                      This financing was memorialized in loan agreements, a note and personal

                      guaranties executed in Florida.

                  6. The HII Defendants provided customer service to Class Plaintiffs and class

                      members from their offices in Florida.

                  7. The HII Defendants sent billing statements and other documents to Class

                      Plaintiffs and class members from the HII Defendants’ offices in Florida.

          b.      Michael Kosloske. Kosloske is an individual who during all material times was a

          resident and citizen of Florida. He is HII Defendants’ founder, largest shareholder and

          former CEO.      In 2018, Kosloske received more than $40 million from the sale of

          company stock.

          11.     Venue. Venue is proper in this District pursuant to 28 U.S.C. § 1391 and 18

  U.S.C. § 1965 because (i) a substantial part of the events or omissions giving rise to Class

  Plaintiffs’ claims occurred in this District, and (ii) Defendants’ contacts with this District would

  be sufficient to subject them to personal jurisdiction in this District if this District were a separate

  State. The HII Defendants and Kosloske regularly and systematically operate, conduct, engage




                                                     7
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 8 of 62

                                                                      CASE NO. 19-cv-61430-FAM


  in and carry on a business or business venture in this District, and have generated hundreds of

  thousands of dollars in revenues from consumers in this District. Defendants committed one or

  more tortious acts within this District. The HII Defendants financed Simple Health’s operations

  and took a mortgage or other lien on all of Simple Health’s assets, including real property owned

  by Simple Health in this District. Defendants’ contacts within this District, including through its

  relationship with Simple Health as described in paragraph 10 above, were substantial and not

  isolated.

                                              PARTIES

          12.    Plaintiff Elizabeth Belin is an individual, and is a resident and citizen of the state

  of Ohio. Belin is a “person” under 18 U.S.C. § 1964.

          13.    Plaintiff Christopher Mitchell is an individual, and is a resident and citizen of the

  state of Kansas. Mitchell is a “person” under 18 U.S.C. § 1964.

          14.    Plaintiff Kevin Furman is an individual, and is a resident and citizen of the state

  of Florida. Furman is a “person” under 18 U.S.C. § 1964.

          15.    Plaintiff Mitchell Kirby is an individual, and is a resident and citizen of the state

  of Arizona. Kirby is a “person” under 18 U.S.C. § 1964.

          16.    Plaintiff Gabrielle Watson is an individual, and is a resident and citizen of the

  state of South Carolina. Watson is a “person” under 18 U.S.C. § 1964.

          17.    Plaintiff Kathryn Svenson is an individual, and is a resident and citizen of the

  state of Hawaii. Svenson is a “person” under 18 U.S.C. § 1964.

          18.    Defendant Health Insurance Innovations, Inc. (“HIIQ”) is distributor of health and

  life insurance products. HIIQ is a Delaware corporation based in Tampa, Florida. HIIQ is

  publicly traded on NASDAQ under the stock symbol “HIIQ.” HIIQ is a holding company. Its




                                                   8
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 9 of 62

                                                                     CASE NO. 19-cv-61430-FAM


  only material asset is the ownership of a 100% economic interest in Defendant Health Plan

  Intermediaries Holdings, LLC. HIIQ receives distributions from Health Plan Intermediaries

  Holdings, LLC to pay taxes and other expenses. HIIQ is an entity capable of holding a legal or

  beneficial interest in property and is therefore a culpable “person” under 18 U.S.C. § 1961.

          19.     Defendant Health Plan Intermediaries Holdings, LLC (“HPIH”) is a Delaware

  limited liability company based in Tampa, Florida. HPIH’s members are (i) HIIQ; (ii) Health

  Plan Intermediaries Sub, LLC (“HPIS”), a Delaware limited liability company based in Tampa,

  Florida, whose sole manager/member, Michael Kosloske, is an individual who resides in Tampa,

  Florida; (iii) Health Plan Intermediaries, LLC (“HPI”), a Florida corporation based in Tampa,

  Florida, whose sole manager/member, Michael Kosloske, is an individual who resides in Tampa,

  Florida; and (iv) Gavin Southwell, an individual who resides in Tampa, Florida. HPIH is an

  entity capable of holding a legal or beneficial interest in property and is therefore a culpable

  “person” under 18 U.S.C. § 1961.

          20.     Defendant Michael Kosloske is an individual, and is a resident and citizen of the

  state of Florida.

                                    RELEVANT NONPARTIES

          21.     The nonparty entities listed in paragraphs 24 through 29 below are related entities

  that will be referred to collectively as “Simple Health.” These entities conducted business from

  the State of Florida through interrelated companies with common ownership, officers, managers

  and business functions.

          22.     The HII Defendants sold limited indemnity plans nationwide through Simple

  Health, with a significant percentage those plans sold to Florida consumers. For example, in

  2015, Simple Health sold 103,000 plans nationwide, with 10,524 (more than 10 percent) of those




                                                   9
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 10 of 62

                                                                      CASE NO. 19-cv-61430-FAM


   sold to Florida consumers.

          23.     Simple Health sold limited benefit indemnity products for the HII Defendants that

   included product names like Principle Advantage, Legion Limited Medical, Unified Health One,

   Health Choice + and Protector 360, underwritten by companies such as Companion Life

   Insurance, Axis Insurance Co., Unified Life Ins. Co., American Financial Security Life Ins. Co.

   (AFSLIC) and Humana Insurance Co.

          24.     Simple Health Plans LLC (“Simple Health Plans”) is a Florida limited liability

   company with its principal place of business in Hollywood, Florida. At all times material to this

   Class Action Complaint, Simple Health Plans advertised, marketed, distributed and sold limited

   benefit plans and medical discount plans to consumers throughout the United States, including

   Class Plaintiffs and putative class members.

          25.     Health Benefits One, LLC (“HBO”), is a Florida limited liability company with

   its principal place of business in Hollywood, Florida. HBO also did business as Health Benefits

   Center, Simple Health, Simple Health Plans, Simple Insurance, Simple Insurance Plans, Simple

   Auto, Simple Home, Simple Home Plans, Simple Care, Simple Life and National Dental

   Savings. At all times material to this Class Action Complaint, HBO advertised, marketed,

   distributed and sold limited benefit plans and medical discount plans to consumers throughout

   the United States, including Class Plaintiffs and putative class members.

          26.     Health Center Management LLC (“HCM”) is a Florida limited liability company

   with its principal place of business in Hollywood, Florida. At all times material to this Class

   Action Complaint, HCM advertised, marketed, distributed and sold limited benefit plans and

   medical discount plans to consumers throughout the United States, including Class Plaintiffs and

   putative class members.




                                                  10
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 11 of 62

                                                                      CASE NO. 19-cv-61430-FAM


          27.     Innovative Customer Care LLC (“ICC”) is a Florida limited liability company

   with its principal place of business in Hollywood, Florida. At all times material to this Class

   Action Complaint, ICC advertised, marketed, distributed and sold limited benefit plans and

   medical discount plans to consumers throughout the United States, including Class Plaintiffs and

   putative class members.

          28.     Simple Insurance Leads LLC (“SIL”) is a Florida limited liability company with

   its principal place of business in Hollywood, Florida. At all times material to this Class Action

   Complaint, SIL advertised, marketed, distributed and sold limited benefit plans and medical

   discount plans to consumers throughout the United States, including Class Plaintiffs and putative

   class members. As Defendants reported in their SEC filings, SIL was actually formed by

   Defendants “and our third-party joint venture partner [Simple Health] in June 2013 . . . .”

   Defendants sold its interest in SIL to Simple Health in 2015.

          29.     Senior Benefits One LLC (“SBO”) is a Florida limited liability company with its

   principal place of business in Hollywood, Florida. At all times material to this Class Action

   Complaint, SBO advertised, marketed, distributed and sold limited benefit plans and medical

   discount plans to consumers throughout the United States, including Class Plaintiffs and putative

   class members.

          30.     Steven J. Dorfman (“Dorfman”) was an owner, officer, member or manager of

   Simple Health Plans, HBO, HCM, ICC, SIL and SBO.

          31.     Matthew Spiewak (“Spiewak”) was an owner, officer, member or manager of

   Simple Health Plans, HBO, HCM, ICC, SIL and SBO.                Spiewak entered into a series of

   agreements whereby he became a “Managing General Agent” of the HII Defendants.

          32.     Donisi Jax, Inc. d/b/a Nationwide Health (“Nationwide Health”) is a Florida




                                                  11
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 12 of 62

                                                                        CASE NO. 19-cv-61430-FAM


   corporation headquartered in Pompano Beach, Florida. Nationwide Health sold the Cardinal

   Choice limited benefit indemnity product for the HII Defendants, underwritten by Federal

   Insurance Co.

          33.      Charles Donisi (“Donisi”) is the president and co-owner of Donisi Jax.

          34.      Evan Jaxtheimer (“Jaxtheimer”) is the vice president and co-owner of Donisi Jax.

          35.      There are likely other, yet-to-be identified entities and individuals involved in the

   Enterprise (the “John Doe Entities”).

                                     FACTUAL BACKGROUND

   A.     Comprehensive Medical Insurance v. Limited Benefit Indemnity Plans
          and Medical Discount Plans

          36.      This case stems from fraudulent misrepresentations and omissions made for the

   purpose of leading consumers, including Class Plaintiffs and class members, to believe they were

   purchasing comprehensive medical insurance, when they instead were purchasing limited benefit

   indemnity plans, medical discount plans and other non-ACA-compliant products.

          37.      Comprehensive medical insurance generally covers most if not all expenses

   incurred for events like doctor’s visits, emergency room visits, hospital stays, lab services and

   prescriptions. Insureds pay a premium, deductible and/or a copayment, and the risk of large

   medical expenses shifts to the insurer.

          38.      Many comprehensive medical insurance plans comply with the ACA,

   42 U.S.C. § 18001. ACA-compliant plans cover preexisting conditions and emergency medical

   care, hospitalization, prescriptions, preventative care, maternity and pediatric care. During the

   relevant time period, insureds with ACA-compliant plans were not required to pay the penalty

   imposed on those who afford such a plan but did not buy one.              The ACA is also called

   “Obamacare” and has certain enrollment periods and deadlines.



                                                    12
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 13 of 62

                                                                     CASE NO. 19-cv-61430-FAM


          39.     One way to deliver comprehensive medical insurance plans is through a preferred

   provider organization (“PPO”). A PPO provides favorable coinsurance, copayments and reduced

   deductions to insureds who use a PPO’s health network of preferred physicians and health

   systems.

          40.     Limited benefit indemnity plans are much different than comprehensive medical

   plans. With limited benefit indemnity plans, consumers receive predefined financial benefits

   after incurring medical expenses.     In other words, consumers purchase medical services at

   prenegotiated discount rates. So if a limited benefit indemnity plan specifies a $50 per day

   benefit for hospital stays (similar to what Defendants and Simple Health sold), then the

   consumer is paid only $500 for a 10-day hospital stay that may cost tens of thousands of dollars.

   The risk of high or catastrophic medical bills falls completely on the consumer, in some cases

   leading to devastating financial consequences.

          41.     Limited benefit indemnity plans are often combined with “medical discount

   plans,” which are not insurance and guarantee no medical coverage. Medical discounts are like a

   “buyers club” or grocery store savings card. With a medical discount plan, consumers generally

   pay a monthly fee to get discounts on specific services or products, such as dental and vision

   discounts, from participating providers.

          42.     Limited benefit indemnity plans and medical discount plans are not major medical

   insurance and do not comply with the ACA. If a consumer has only such plans, then he or she is

   subject to the ACA penalty.

   B.     The Enterprise

          43.     The HII Defendants were founded by Kosloske in 2008 and became publicly

   traded on NASDAQ in 2013. The HII Defendants’ revenue in 2018 was $351.1 million. Not all




                                                    13
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 14 of 62

                                                                     CASE NO. 19-cv-61430-FAM


   of the HII Defendants’ revenues were generated from the sale of limited benefit indemnity plans

   and medical discount plans through distributors like Simple Health and Nationwide Health. The

   HII Defendants sold other products legitimately.      But of the revenues the HII Defendants

   generated in 2018, nearly $160 million was generated from the sale of limited benefit indemnity

   plans and nearly $97 million was generated from medical discount plans and AD&D insurance.

          44.     Together, the HII Defendants, Simple Health, Nationwide Health and their

   officers, including Kosloske, Dorfman, Spiewak, Donisi and Jaxheimer, as well as employees,

   independent contractors, third-party subagents, member associations (including Med-Sense

   Guaranteeed Association, Inc. (“Med-Sense”) and the John Doe Entities created, operated and

   managed an associated-in-fact “enterprise” to sell or distribute limited benefit indemnity plans,

   medical discount plans and other non-ACA-compliant products to consumers who thought they

   were purchasing comprehensive medical insurance (the “Enterprise”). Ultimately, the Enterprise

   would operate for more than five years, sufficient time to permit Defendants, Simple Health,

   Nationwide Health and their other associates to successfully pursue the Enterprise’s purpose,

   which was to deceptively maximize profitability — to take cheap and relatively worthless

   products, bundle them and then represent them as something more valuable and expensive so as

   to sell the products at an unfair premium.

          45.     The Enterprise used the wires and mails to perpetrate the fraud. As described in

   more detail below, Simple Health and Nationwide Health used a standardized script to make

   misrepresentations and omissions to Class Plaintiffs and class members over the phone, as well

   as to obtain and process payment information. The HII Defendants then sent each Class Plaintiff

   and class member an information packet via email and membership cards and other information

   via U.S. mail. The HII Defendants also monitored numerous sales calls by Simple Health and




                                                  14
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 15 of 62

                                                                      CASE NO. 19-cv-61430-FAM


   Nationwide Health agents.

             46.   As stated in the HII Defendants’ SEC filings, the HII Defendants are not insurers.

   Rather, the HII Defendants develop limited benefit indemnity plans and other products. The HII

   Defendants then market those products to consumers, primarily through third-party distribution

   channels. The Enterprise included two of the largest of the external distribution channels that the

   HII Defendants directed, managed and controlled — the channels that ran through Simple Health

   and Nationwide Health.

             47.   In March 2013, the HII Defendants and Simple Health entered into a Managing

   General Agent Agreement (“MGAA”) allowing Simple Health to promote and sell various of the

   HII Defendants’ products, principally the limited benefit indemnity plans, medical discount plans

   and AD&D insurance. Under the MGAA, Simple Health agreed to sell no other products than

   those developed or managed by the HII Defendants.

             48.   In 2015, the HII Defendants entered into a similar MGAA with Nationwide

   Health, allowing it to sell the HII Defendants’ Cardinal Choice limited indemnity product,

   among other products.

             49.   Under these agreements, the HII Defendants directed Simple Health’s and

   Nationwide Health’s billing and premium collection services. The HII Defendants collected

   (and continue to collect) monthly payments from Simple Health and Nationwide Health

   customers. The HII Defendants provided an accounting of these payments and distributed a

   portion to Simple Health and Nationwide Health as commissions and a portion to the underlying

   insurance company or discount provider as a premium. The HII Defendants kept the balance for

   itself.

             50.   The HII Defendants also directed and performed other services for customers




                                                   15
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 16 of 62

                                                                     CASE NO. 19-cv-61430-FAM


   obtained through Simple Health and Nationwide Health, including the processing of enrollment

   forms, verification of eligibility for coverage, providing fulfilment documents to members,

   member support calls and other support activities.

          51.     The HII Defendants directed Simple Health and Nationwide Health to use the HII

   Defendants’ online platform, which Simple Health’s and Nationwide Health’s agents used to

   quote and sell the HII Defendants’ products.

          52.     The HII Defendants and Simple Health also entered into Master Commission

   Advance Agreements (“MCAA”) with Simple Health and Nationwide Health in which the HII

   Defendants financed Simple Health’s and Nationwide Health’s businesses by advancing Simple

   Health’s and Nationwide Health’s commissions prior to Simple Health earning them. The

   MCAA essentially established a loan from the HII Defendants to Simple Health and Nationwide

   Health in which the HII Defendants repay themselves by withholding payments on future

   commissions earned by Simple Health and Nationwide Health. As collateral, Simple Health and

   Nationwide Health granted the HII Defendants a security interest in Simple Health’s and

   Nationwide Health’s assets, including but not limited to future commissions and accounts

   receivable, and Simple Health’s and Nationwide Health’s principals, including Dorfman,

   Spiewak, provided personal guarantees.

          53.     Buoyed by the HII Defendants’ financing, by September 2016 Simple Health

   employed 40 to 50 sales agents and about 35 customer service representatives out of its

   Hollywood, Florida, headquarters and satellite locations in Doral, Florida, and Boca Raton,

   Florida. By 2018, Simple Health had more than 100 sales agents.

          54.     The HII Defendants benefited greatly as well.      Simple Health was the HII

   Defendants’ largest and most profitable third-party broker. From 2014 through October 2018,




                                                  16
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 17 of 62

                                                                     CASE NO. 19-cv-61430-FAM


   HIIQ paid about $180 million in commissions to Simple Health. By 2015, Simple Health was

   responsible for almost all of the HII Defendants’ limited benefit indemnity policy sales. The HII

   Defendants’ 2016 annual report indicates that Simple Health accounted for more than 65% of

   advanced commissions paid.

          55.     Nationwide Health has grown to become one of the largest (if not the largest)

   distributors for the HII Defendants, selling millions of dollars of the HII Defendants’ Cardinal

   Choice plan.

   C.     The Enterprise’s Scheme

          56.     The HII Defendants and their distributors perpetrated a unified, common scheme

   whereby sales agents led consumers, including Class Plaintiffs and class members, to believe

   they would receive comprehensive medical insurance when, in reality, they received a

   combination of relatively worthless products that typically consisted of a limited benefit

   indemnity plan, a medical discount membership and AD&D insurance.

          57.     As further described below, the HII Defendants directed, managed, operated,

   conspired to and knew about and substantially assisted the scheme, which was orchestrated to

   induce consumers through misleading websites and standardized and uniform scripts that sales

   agents were carefully trained to perform.

   D.     The Misleading Websites

          58.     The sales process was tailored to mislead from beginning to end. With the HII

   Defendants’ financing, Simple Health paid search engines to direct consumers searching for

   specific words (or “AdWords”) such as “Obamacare,” “Obama Health Care,” “Obama

   Insurance” and “Obama Care Insurance” toward one or more of Simple Health’s 129 lead-

   generation websites. Consumers searching for these words can reasonably be assumed to have




                                                  17
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 18 of 62

                                                                     CASE NO. 19-cv-61430-FAM


   been searching for ACA-compliant policies.

             59.   The names of the lead-generation websites themselves were designed to mislead

   consumers into thinking that they were shopping for ACA-compliant plans. They included

   addresses        like     “Obamacare-healthquotes.com,”         “myobamacareapplication.com,”

   “healthinsurance2017deadline.com” and “healthinsurancedeadline2018.com.”

             60.   In addition, the websites featured logos of large, well-known insurance carriers

   like BlueCross, Anthem Blue, BlueShield, Aetna and Cigna, implying that comprehensive

   medical insurance was being sold. The websites also used the logo of the American Association

   of Retired Persons (“AARP”) despite no affiliation with, or permission from, the AARP.

             61.   The websites also used the Better Business Bureau (“BBB”) logo, too, even

   though neither the HII Defendants nor Simple Health nor Nationwide Health had BBB

   accreditation. In fact, the BBB processed dozens of complaints against all three companies.

   According to the Southeast Florida BBB’s vice president for operations, the complaints share a

   common thread: that consumers “paid hundreds of dollars per month for what Simple Health

   telemarketers led them to believe would be a major medical health insurance policy but instead

   turned out to be a medical discount membership, indemnity policy, or similar product that did

   not provide the promised benefits or coverage.”

   E.        A Standardized Sales Script Is Used to Fraudulently Induce Consumers

             62.   The contact information of potential customers, including Class Plaintiffs and

   class members, was obtained through these websites. Consumers were then contacted by sales

   agents.

             63.   According to one Simple Health sales agent, “[v]irtually every consumer I spoke

   to while employed at Simple Health was in search of a major medical insurance policy as well as




                                                  18
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 19 of 62

                                                                       CASE NO. 19-cv-61430-FAM


   some assurance that the policy would cover various pre-existing conditions and medications.”

          64.       Sales agents were provided with a carefully crafted, standardized script designed

   to mislead consumers, including Class Plaintiffs and class members, into believing they were

   being offered ACA-compliant insurance. While a script was created for each limited benefit

   indemnity product, all were virtually identical.

          65.       Sales agents were directed to follow the script verbatim. Simple Health’s quality

   control department monitored sales agents’ calls and made written comments such as: “The

   agent needs to explain the benefits verbatim in order to provide the customer with the correct

   information,” and “The Agent needs to read the post close verbatim in order to set the correct

   expectations, avoid cancellations and auto fails.”

          66.       Training materials urged sales agents to “STICK TO THE SCRIPT!!! . . . History

   has proven to us that the best salespeople at Simple Health are the agents that stick to the script

   and have faith in the process. . . . The script keeps a consistent message across all departments.”

          67.       Simple Health’s policy stated that any employee deviating from the script could

   be terminated.

          68.       The script began, “Hello . . . I am going to be helping you with your application

   for an affordable health insurance quote.” (emphasis added). These words were intended to

   mislead consumers to believe that sales agents were pricing comprehensive medical insurance

   compliant with the Affordable Care Act.

          69.       The script continued by instructing sales agents to tell the consumer “The name of

   my company is Simple Health, and we represent most of the MAJOR “A Rated” CARRIERS in

   [your] state . . . . So I’m able to give all of your options, and find you the BEST PLAN out there

   for the BEST PRICE!” This statement was untrue, misleading consumers, including Class




                                                      19
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 20 of 62

                                                                     CASE NO. 19-cv-61430-FAM


   Plaintiffs and class members, to believe that agents were shopping for major medical insurance

   through an exchange that offered multiple options.

          70.    The script then directed the sales agent to ask questions suggesting that they

   sought to help the consumer purchase comprehensive medical insurance. Questions like whether

   the consumer was “currently insured?” and with what “insurance company?” The script also

   asked the consumer to “verify any pre-existing medical conditions,” and whether he or she has

   “ever been denied for health insurance.” The script omitted to tell consumers, including Class

   Plaintiffs and class members, that their answers to these questions would have no impact on

   whether they could buy the limited indemnity plans that were being sold.

          71.    The script went on to state “we want to find you a PPO, that way you can keep

   your own doctors and hospitals. I want to get you prescription coverage and lab coverage for

   your preventative care and maintenance.”       But the plans were not PPOs.        They had no

   “preferred” network of providers with favorable co-insurance or co-pays that count toward a

   deductible. The HII Defendants and Simple Health were selling limited benefit indemnity plans

   and discount plans — networks of doctors and facilities offering preset discounts to members.

   Unlike PPOs, these networks did not offer insurance, did not administer the plans and did not

   pay claims to doctors or providers within the network. At best, the plans merely provided a

   discount, the level of which was not even known to the consumer prior to receiving care, making

   it difficult if not impossible for the consumer, including Class Plaintiffs and class members, to

   make informed choices.

          72.    After obtaining the customer’s personal information, the script directed the agent

   to say “Ok, I know exactly what you’re looking for,” and “I am going to submit your

   application” and “search” for the best plan. The script contained a paragraph described as the




                                                  20
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 21 of 62

                                                                          CASE NO. 19-cv-61430-FAM


   “Fear of God paragraph,” stating “Just so you know, . . . most insurance companies are VERY

   DISCRIMINATORY against pre-existing health conditions. So I may not be able to get you

   approved for anything right now.” The script failed to tell consumers that no matter what the

   consumers’ situations, they were going to be offered a limited benefit indemnity plan that would

   all but certainly be approved, and that the plan had a 12-month exclusionary period for pre-

   existing conditions.

           73.     The script then instructed the agent to place the consumer on a brief hold, after

   which “we’ll go over all of your options, if there are any, and make sure we find you the best

   plan for the best price.”

           74.     The script failed to tell the consumer, including Class Plaintiffs and class

   members, that the sales agent was not searching for different insurance options. The agent was

   simply biding time to make it look like he or she was shopping among various plans. (In fact,

   FTC recordings captured sales agents talking amongst themselves during the hold). The sales

   agent was always going to offer the consumer a limited benefit indemnity plan, regardless of the

   consumer’s specific needs.

           75.     When the hold was lifted, the sales agent said:

           (Their name) I have some great news for you! Based upon your application, I
           was able to get you approved into a plan in the state of (state). This is an “A
           Rated” carrier and a PPO. Do you know what a PPO stands for? (Regardless of
           answer, tell them!) PPO stands for Preferred Provider Organization, which
           simply means you can choose your own doctors and hospitals, and you don’t need
           a referral to see a specialist.

           76.     Again, these statements about a “PPO” from an “A Rated carrier” were untrue.

           77.     The script continued with a paragraph “only for those with pre-existing

   conditions,” stating “individuals like you can join this plan, and still qualify for this low rate. . . .

   What’s the point of paying all that money every month if it’s not going to cover the most



                                                      21
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 22 of 62

                                                                       CASE NO. 19-cv-61430-FAM


   important things, right??? Exactly!!! This plan covers you from day 1 . . . .” Again, the plan

   did not cover pre-existing conditions from day one. There was a one-year pre-existing condition

   exclusion. And even after a year, the plan offered only unspecified discounts for treatment of

   pre-existing conditions, not comprehensive coverage.

          78.    The script continued, “Now, you can go to any doctor in the country” and “your

   insurance can be used at virtually ANY inpatient, or outpatient facility in the NATION.” But the

   limited benefit indemnity plans and discount plans developed by Defendants were not offered by

   every doctor in the country, nor were they accepted in most facilities.          Nor were they

   comprehensive medical insurance, as the script failed to mention.

          79.    The script continued, “You will NEVER have ANY upfront costs on this PPO.”

   On this point, the script failed to explain that not paying a copay or deductible did not ensure

   cost savings overall. Indeed, an FTC expert has testified that the maximum annual value of the

   limited benefit indemnity plan was $3,200 for impatient hospital, outpatient clinic and

   emergency room care, and did not include pharmacy, dental, laboratory, imaging or vision

   insurance coverage.

          80.    The script went on to make more misrepresentations that the consumer was

   buying into a PPO with no deductible:

                 Now as you know MOST PLANS come with high deductibles that will
          have you paying THOUSANDS out of pocket BEFORE your insurance will pay
          for ANYTHING!! This plan does not work that way. This is a FIRST DOLLAR
          COVERAGE PLAN, which means THIS PLAN covers you from the MOMENT
          you enter the hospital. So again, first the PPO network will take your entire
          hospital bill, and re-price. (pause) After the PPO network covers you, your plan
          pays additional insurance benefits to help you cover the rest. When all is said and
          done you end with pennies on the dollar if any cost at all!! The whole idea of this
          plan is to make your out of pocket expenses as low as possible, without you
          EVER having to meet a deductible first.

          81.    A straightforward example shows why these statements misrepresent the plans



                                                  22
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 23 of 62

                                                                        CASE NO. 19-cv-61430-FAM


   that were offered. A patient who spends 14 days in the hospital and incurs a $30,000 medical

   bill receives $700 (or $50 for 14 days) under the limited benefit indemnity plan developed by

   Defendants and sold through Simple Health, leaving a bill of $29,300. Comprehensive medical

   insurance with a deductible of $2,000 and out-of-pocket maximum of $7,500 would leave the

   patient with a bill of $7,500, with the insurer covering the rest.

          82.     The script went on to throw in dental and vision coverage seemingly for free:

   “Now, for your benefit I have included an additional dental plan along with your policy. This

   additional card gives you a dental and vision savings benefit which gives you more coverage

   than any other traditional insurance plan.” This statement was untrue. The plan did not offer

   more coverage than a traditional dental and vision plan.

          83.     The script continued, “Also, I have included additional insurance benefits such as

   Accidental Death AND an Accident Medical Expense plan along with your package.” But this

   additional “benefit” was not free. In reality, consumers, including Class Plaintiffs and class

   members, were charged significant fees and premiums for this “included” coverage.

          84.     The standard sales pitch claimed that plans included pharmacy coverage. They

   did not. The script nonetheless asked consumers what medications they took, in an effort to

   make it seem like its plans included pharmacy benefits. The agents also quoted consumers the

   price of those medications, without telling the consumer that the agent was getting that price

   from a publicly available website, and not from a PPO or comprehensive medical plan.

          85.     Again, never did the sales script direct the agent to tell consumers that they were

   buying a limited benefit plan as opposed to comprehensive medical insurance. These omissions,

   coupled with the affirmative misrepresentations in the script, were intended to induce consumers,

   including Class Plaintiffs and class members, to purchase the plan by leading them to believe




                                                     23
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 24 of 62

                                                                        CASE NO. 19-cv-61430-FAM


   they were buying comprehensive medical insurance.

           86.      Nationwide Health used a similar script, requiring its sales agents to adhere to the

   script or face disciplinary action.        The script touted the Cardinal Choice limited benefit

   indemnity plan as comprehensive medical insurance.

   F.      Payment Is Taken and the Customer Is Read the Post-Close Script

           87.      Next, the Simple Health and Nationwide Health sales agents took payment from

   the customer, including Class Plaintiffs and class members, using the HII Defendants’ web-based

   payment platform. According to the HII Defendants’ most recent SEC Form 10-K, Simple

   Health and Nationwide Health used the HII Defendants’ platform to make payment and complete

   the enrollment process, taking “credit card and Automated Clearing House (“ACH”) payments

   directly from members at the time of sale.” See Health Insurance Innovations Inc. Form 10-K,

   at 5,   (March     13,   2019)    (found     at   https://www.sec.gov/Archives/edgar/data/1561387/

   000156138719000004/hiiq-2018x12x31x10k.htm) (emphasis added). Class members paid an

   enrollment fee of $60 to $175, along with their first monthly premium, typically between $40

   and $700.

           88.      After making payment, the Simple Health sales agent employed the “post-close”

   portion of the script. The post-close script instructed the agent to say “CONGRATULATIONS

   on your NEW INSURANCE POLICY!!” This, again, suggested to the customer that they had

   just purchased comprehensive medical insurance. And it also made clear that, at that point, the

   customer had already made the decision to purchase, and did purchase, the products.

           89.      By design, the post-close script desensitized the customer to the coming

   “verification” process, a process designed to “walk back” some of the misrepresentations just

   made to the customer via the sales script.




                                                      24
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 25 of 62

                                                                     CASE NO. 19-cv-61430-FAM


          90.    The post-close script undermined the verification process by telling the customer

   that although the verification department would review the plan he or she just purchased, some

   of the verification information “WILL NOT APPLY TO YOU. I just want you to know what

   parts affect you, and what don’t; because they read the SAME SCRIPT to everyone.”

          91.    The post-close script instructed the agent to tell the customer to ignore the

   verification department’s statements that the customer was not buying comprehensive medical

   insurance:   “Now, they ALSO will tell you that this is not a major medical plan OR A

   DISCOUNT PLAN. Obviously this isn’t a discount plan. This IS INSURANCE.”

          92.    Again, these statements were untrue. The plans were limited benefit indemnity

   plans and medical discount plans, not comprehensive medical insurance.

          93.    The post-close script also instructed agents to suggest that the insurance covered

   preexisting conditions: “Now, fortunately for YOU, this IS a GUARANTEED ISSUE health

   insurance plan. Because of the OPEN ENROLLMENT in your state, you’re approved TODAY,

   regardless of your conditions.” The script then went on to tell the consumer not to heed the

   verification department’s statements about limitations on preexisting conditions.       “On the

   Verification, they will state there is a 12/12 [one-year] preexisting clause that applies to your

   hospital and surgical benefits for any preexisting diagnosis you’ve had within the past 12

   months. Now because of this OPEN ENROLLMENT, you’re approved today, REGARDLESS

   of those conditions.” Thus, the script misstated that the one-year preexisting conditions clause

   does not apply to the consumer.

   G.     The Verification Script Also Misled Customers

          94.    Just before the sales agent sent customers from the post-close phase to the

   verification phase, the script instructed the sales agent to say: “IF YOU HAVE ANY




                                                  25
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 26 of 62

                                                                      CASE NO. 19-cv-61430-FAM


   QUESTIONS DURING THE VERIFICATION, DO ME A FAVOR, IF YOU CAN, AND JUST

   HOLD THEM UNTIL THE END, BECAUSE THEY ONLY GIVE US A FEW MINUTES OF

   TAPE TIME, AND IF THEY DON’T FINISH—THEY HAVE TO DO IT ALL OVER AGAIN

   FROM THE BEGINNING, SO YOU CAN CALL ME BACK, OKAY?”

          95.     This statement was untrue. There was no issue with the amount of recording tape,

   and questions would not have caused the verification process to start over. In fact, if a question

   was asked, the verification agent would turn off the recording before responding. Sales agents

   used a “verification rebuttal” script instructing them to provide different and conflicting answers

   to customers’ questions depending on whether the verification was “on recording” or “off

   recording.” One “on recording” rebuttal script described the limited benefit indemnity plan as

   “not health insurance,” while the corresponding “off recording” rebuttal stated, “this is health

   insurance.”

          96.     The statement had a fraudulent purpose: to discourage customers from asking

   questions so that sales agents could obtain a clean recording of a verification script that was

   inconsistent with what the customer had just been read in the sales script and post-close script.

   The HII Defendants were aware that, with few exceptions, Simple Health recorded only the

   verification process and not the sales and post-close processes.

          97.     The verification script instructed agents to tell customers that they had purchased

   a “limited benefit plan” that was not traditional medical insurance.        Again, however, this

   disclosure was made after the customer had made his or her purchase decision and paid for the

   plan, and after the sales agent had read from a script designed to undermine the importance of the

   verification process and its applicability to the customer.

          98.     To the extent the sales pitches, post-close statements or verification statements




                                                    26
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 27 of 62

                                                                     CASE NO. 19-cv-61430-FAM


   varied in a given phone call, they were nonetheless tied to standardized scripts and emanated

   from uniform training procedures, and as a result did not materially vary among customers,

   including Class Plaintiffs and class members. Everyone, including Class Plaintiffs and class

   members, received a common menu of fraudulent misrepresentations and omissions conveying a

   consistent message: that they were receiving a great deal on comprehensive medical insurance.

   In reality, in exchange for hefty up-front fees and monthly payments of hundreds of dollars,

   customers received relatively worthless limited benefit indemnity plans, medical discount plans

   and other ancillary products.

          99.     Nationwide Health’s post-close verification process was substantially similar if

   not the same. Verification agents instructed customers to answer “Yes” to a rapid-fire set of

   questions aimed at “walking back” previous misrepresentations.

   H.     A Fiduciary Relationship Was Established

          100.    Simple Health and Nationwide Health knew that customers, including Class

   Plaintiffs and class members, were relying on Simple Health and Nationwide Health for

   assistance and protection. As one former Simple Health sales agent said, many did not have

   health insurance because they had lost their jobs or could not afford it. Many had pre-existing

   conditions.

          101.    Simple Health’s and Nationwide Health’s customers, including Class Plaintiffs

   and class members, were vulnerable. They relied on and trusted Simple Health and Nationwide

   Health, and Simple Health and Nationwide Health knew and encouraged that reliance and trust.

          102.    Simple Health and Nationwide Health, using the HII Defendants’ distribution

   channels, purposely created a special, fiduciary relationship with its customers, including Class

   Plaintiffs and class members. Their sales scripts directed the sales agent to investigate the




                                                  27
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 28 of 62

                                                                     CASE NO. 19-cv-61430-FAM


   customer’s insurance needs by asking a series of personal questions.

          103.    Simple Health’s script directed the sales agent to (at least pretend to) determine

   what coverages were available to meet the customer’s needs, and to make a recommendation:

   “Your new PPO will cover everything you need AND be affordable at the same time. This is

   ABSOLUTELY the best plan you’ll receive in your price range.”

          104.    The Simple Health script directed the sales agents to volunteer that the customer,

   including Class Plaintiffs and class members, needed a “PPO, that way you can keep your own

   doctors and hospitals. I want to get you prescription and lab coverage for your preventative care

   and maintenance. . . and MOST IMPORTANTLY, you want a plan that will have very low out

   of pocket expenses, right?”

          105.    To further engender trust, Simple Health and Nationwide Health’s scripts touted

   their expertise. For example, Simple Health’s script stated:

          The name of my company is Simple Health, and we represent most of the
          MAJOR “A Rated” CARRIERS in the state of ____... So I’m able to give all of
          your options, and find you the BEST PLAN for the BEST PRICE!
          ****
          Remember, I work with virtually EVERY PLAN available in your state, so if I
          thought there were ANYTHING OUT THERE that was more beneficial for you
          than THIS plan, then THAT is what I’d be offering you! I take a lot of pride in
          what I do and I like to think that our relationship starts TODAY, okay?

          106.    Simple Health and Nationwide Health’s scripts also directed the sales agent to

   make representations about the breadth of the coverage obtained. Simple Health’s script stated:

          You will receive doctor’s visits, diagnostic testing for blood & lab work, 3
          options of your medications, medical, surgical and hospital coverage with NO
          DEDUCTIBLE! . . .
          ****
          You will NEVER incur ANY upfront costs on this PPO and your insurance can be
          used at virtually ANY inpatient, or outpatient facility in the NATION. . . .
          ****



                                                  28
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 29 of 62

                                                                     CASE NO. 19-cv-61430-FAM


          Now, for your benefit I have included an additional dental plan along with your
          policy. This additional card gives you a dental and vision savings benefit which
          give you more coverage than any other traditional insurance plan. Also, I have
          included additional insurance benefits such as Accidental Death AND an
          Accident Medical Expense plan along with your package.”

          107.    In an attempt to deepen the special relationship with customers, the Simple Health

   and Nationwide Health scripts encouraged customers to rely on sales agents to answer questions

   and assist with the plans they purchased, touting superior licensing, knowledge and training.

   Simple Health’s script stated:

          Again, (first name) although you were able to contact your carrier directly and
          they are very nice people, they literally get paid minimum wage to read the
          answers to your questions off a piece of paper. Everyone here at Simple Health is
          fully licensed, trained on your policy, and here to help you. Please keep in touch
          with us for any question or concerns about your plan.

          108.    By encouraging and engaging their customers, including Class Plaintiffs and class

   members, in a special, fiduciary relationship, Simple Health and Nationwide Health triggered a

   duty to advise consumers, including Class Plaintiffs and class members, prudently about their

   coverage needs. That included a duty not to mislead them.

   I.     Class Plaintiffs and Class Members Relied as a Whole on the Misrepresentations

          109.    Given the nature of the misrepresentations and the materiality of the omissions, it

   can be legitimately inferred that Class Plaintiffs and class members reasonably relied on the

   statements made in the sales presentations. The misrepresentation of plans as ACA-compliant,

   comprehensive medical insurance plans formed the basis of the consideration for which Class

   Plaintiffs’ and class members agreed to purchase them. The fact that those misrepresentations

   emanated from standardized scripts further shows reliance common to the entire class.

          110.    Class Plaintiffs and class members were provided agreements that contained

   boilerplate language disclaiming that the plans included comprehensive medical coverage or

   were otherwise ACA-compliant.        But payment was made before customers received any


                                                  29
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 30 of 62

                                                                      CASE NO. 19-cv-61430-FAM


   disclaimers. And by design, the presentation led customers, including Class Plaintiffs and class

   members, to misapprehend that the agreements told a different story than what the sales agents

   had conveyed through their standardized scripts.

             111.   Thus, it can be easily presumed that customers, including Class Plaintiffs and

   class members, relied upon the misrepresentations and omissions during the sales and “post-

   close” processes, and not the verification process or boilerplate disclaimers that came afterward.

   The scheme was premised on getting borrowers to agree to and pay for the limited indemnity

   plans before they received the disclaimers.

   J.        Victims Included the Class Plaintiffs

             112.   The scheme described above was applied to Class Plaintiffs.

             113.   Elizabeth Belin.    Belin sought ACA-compliant coverage in early 2016.          A

   Google search of “individual health insurance plan” led her to one of Simple Health’s websites

   that suggested it sold ACA-compliant insurance. She entered her information on January 27,

   2016, and received a call from a Simple Health sales agent later that day.

             114.   Belin recalls that the agents, whose names Belin cannot remember but who can

   likely be identified through Simple Health’s records, took Belin through the sales, post-close and

   verification scripts described above.

             115.   The sales agent stated that Simple Health represented most of the large insurance

   companies in Ohio, and that he would shop among a number of PPOs to find the best one for

   Belin for the best price. The sales agent told Belin that he was going to put her on hold to do the

   search.

             116.   The sales agent came back on the line with “great news.” He offered Belin a

   “PPO” that he said provided insurance coverage for doctor’s visits, prescriptions and Belin’s pre-




                                                     30
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 31 of 62

                                                                        CASE NO. 19-cv-61430-FAM


   existing condition — a knee that would need replacement surgery — for $238.77 per month. He

   told Belin that she could go to any doctor, including her knee specialist, at any location within

   the “network.” He said that the majority of her medical costs would be covered.

            117.   The sales agent also told Belin that he would include AD&D and dental

   insurance. He did not tell her that she would pay extra for those.

            118.   The sales agent’s representations led Belin to believe she was buying broad,

   comprehensive medical insurance. In reality, she received limited benefit indemnity insurance

   called Principle Advantage Limited Benefit Health Insurance (for $78.77), Freedom Spirit Plus

   AD&D insurance (for $130) and a dental discount plan (for $30), as well as membership in Med-

   Sense.

            119.   The sales agent processed Belin’s credit card information and completed the

   purchase, which included an enrollment fee of about $150. When done, he congratulated her on

   her new insurance policy.

            120.   The sales agent told Belin that he would be transferring her to the “verification

   department,” and that they would tell her things that did not apply to her. He said that if she had

   any questions, she should hold them and call back.

            121.   Belin received an information packet directly from the HII Defendants via email,

   and membership cards directly from the HII Defendants via the U.S. mail.

            122.   In November 2017, Belin had knee replacement surgery. A few months later, she

   received a call from the hospital stating that only a fraction of her surgery and related expenses

   had been covered, and that she owed $48,000 (which was more than her annual salary as a

   paraprofessional).   In addition, Belin received other uncovered charges for anesthesiology

   ($3,000), rehabilitation ($4,600) and other incidentals.        Belin cancelled a second knee




                                                   31
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 32 of 62

                                                                    CASE NO. 19-cv-61430-FAM


   replacement surgery scheduled for the following Monday, then (with great difficulty) cancelled

   her “insurance.”

           123.   Chris Mitchell. Mitchell also sought ACA-compliant coverage in early 2016. A

   search for health insurance plans available through the ACA marketplace took him to a number

   of websites, including Simple Health’s. He inputted his information and received a call on

   January 13, 2016 from a sales agent named Chase.

           124.   Chase said Simple Health represented most of the A-Rated carriers in Kansas and

   could give Mitchell “all his options” and “find the best plan for the best price.” Chase said he

   would find Mitchell a “PPO” that would allow Mitchell to keep his doctors and hospitals and

   provide prescription and lab coverage.

           125.   Chase said he would put Mitchell on hold and then come back to “go over all your

   options.” When Chase returned, he told Mitchell “I did a search here for you” and was able to

   find a “PPO” from an “A-rated carrier.” Chase continued through the script, saying Mitchell

   would receive “doctor’s visits, you know, diagnostic testing for blood and lab work, three

   options for your medications, medical, surgical and hospital coverage with no deductible, which

   is great.” He said there were “no limits on plan usage and a zero deductible.” None of this was

   true.

           126.   Mitchell asked Chase to call back the next day, which Chase did. Chase quoted

   Mitchell a $206.90 monthly premium and $155 enrollment fee.           Chase said this included

   insurance through the Multiplan Nationwide PPO Network (“Multiplan”), which “does also

   come with dental as well,” along with vision and hearing. In reality, these were dental, vision

   and hearing discount plans, and they were not free.

           127.   Chase also failed to tell Mitchell that he was getting AD&D insurance, which




                                                  32
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 33 of 62

                                                                       CASE NO. 19-cv-61430-FAM


   Mitchell never asked for, or that Mitchell would be charged for it. The name of the AD&D

   insurer was Companion Life Insurance Company (“Companion”).

          128.    Chase asked for, and Mitchell provided, Mitchell’s credit card number. Chase

   processed the payment and said “congratulations on your new insurance policy.”

          129.    Chase then transferred Mitchell to the verification department, but not before

   telling Mitchell “what they’re going to do is just a brief recording for your protection and they’ll

   go over the plan with you on the verification. And just to let you know, you know, some of the

   information will apply to you, some of it will not apply. You know, they just kind of read over

   the same script to everyone.” The verification agent quickly read to Mitchell the verification

   script and prompted Mitchell to say “yes” to various questions.

          130.    Mitchell received an information packet directly from the HII Defendants via

   email, and membership cards directly from the HII Defendants via the U.S. mail.

          131.    In late February 2018, Mitchell was diagnosed with Invasive Ductal Carcinoma

   Grade 3.    His doctor ordered an immediate lumpectomy and sentinel lymph node biopsy.

   Surgery was quickly scheduled. But just days before the surgery, Mitchell’s hospital informed

   him that he did not have insurance coverage for the surgery.

          132.    Mitchell contacted Companion, which referred him to Defendants. Defendants

   referred him to Simple Health. Simple Health assured Mitchell that his surgery would be

   covered.

          133.    Mitchell then contacted Multiplan, which informed him that they were not an

   insurer but a repricing group. Multiplan could not tell him anything about what coverage he

   would receive for the surgery.

          134.    Mitchell’s hospital contacted Simple Health to discuss surgical procedure codes.




                                                   33
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 34 of 62

                                                                     CASE NO. 19-cv-61430-FAM


   Simple Health informed them that procedure codes would only be considered after surgery.

   Thus, Mitchell would not know what coverage he might receive until after he incurred the cost of

   surgery.

          135.    The hospital agreed to proceed for an upfront payment, which Mitchell paid via

   credit card. After the surgery, he received bills exceeding $40,000, much of which he still owes.

          136.    Mitchell, who works as an advocate for the homeless, was greatly impacted by

   what happened — financially, emotionally and physically. He said that at times, the fight for

   insurance coverage felt more difficult than fighting cancer.

          137.    Kevin Furman. In late 2017, Furman made a search engine request for “major

   medical inexpensive” and was led to a website containing a phone number for one of Nationwide

   Health’s entities.

          138.    Furman called the number and was told by the Nationwide Health sales agent,

   whose name Furman cannot remember, that Furman would receive major medical insurance to

   protect against catastrophic health costs. Furman paid a $155 enrollment fee and a $562.54

   monthly premium over the phone.

          139.    None of what he was sold included major medical insurance: Cardinal Choice

   limited indemnity benefit product ($218.65); an online health education and fitness training

   program ($125.00); Rx Helpline ($12.50); Freedom Spirit AD&D insurance inclusive of Med-

   Sense fee ($100); Safeguard Accident Insurance ($47.40) and USA+ Dental ($39).

          140.    Furman received an information packet directly from the HII Defendants via

   email, and membership cards directly from the HII Defendants via the U.S. mail.

          141.    Furman continued to pay the monthly premium for about a year, when he was told

   by his new employer that the HII product he had purchased through Nationwide Health was not




                                                   34
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 35 of 62

                                                                     CASE NO. 19-cv-61430-FAM


   major medical insurance.

          142.    Mitchell Kirby. Kirby was in his early 20s in July 2016 when he sought his first

   health insurance policy. In particular, Kirby sought major medical insurance to protect him in

   the event of a catastrophic injury.

          143.    He conducted a Google search and located a Simple Health website.

          144.    He spoke with a Simple Health sales agent, whose name he cannot remember.

   Furman explained to the agent that he has an active, outdoor lifestyle. The agent said he would

   find comprehensive major medical insurance to protect Kirby in the event of a serious accident.

          145.    Kirby was quoted $274.67 a month. None of what he was sold included major

   medical insurance: Principle Advantage limited indemnity benefit product ($51.32); an online

   health education and fitness training program ($125.00); Teladoc 24/7 doctor visits by telephone

   ($22.95); Freedom Spirit AD&D insurance ($70.45); and a monthly Med-Sense fee ($4.95).

          146.    Kirby paid an enrollment fee of $155 and the first monthly payment of $274.67

   with his credit card.    He was then transferred to the verification department, which Kirby

   described as “the end of a pharmaceutical commercial”: a fast-talking representative asked him a

   series of questions and asked him to say “Yes” to each of them in succession.

          147.    Kirby received an information packet directly from the HII Defendants via email,

   and membership cards directly from the HII Defendants via the U.S. mail.

          148.    In April 2019, Kirby was involved in a motor vehicle accident. He received bills

   of more than $35,000 for healthcare expenses that were not covered by the product he purchased

   through Simple Health.

          149.    Gabrielle Watson. Watson is a citizen of South Carolina. In or around February

   2018, she sought to purchase a health insurance policy. In particular, Watson sought major




                                                  35
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 36 of 62

                                                                      CASE NO. 19-cv-61430-FAM


   medical insurance that would provide full coverage including coverage in the event of a

   catastrophic injury.

          150.    She conducted a Google search and located what she now believes was a Simple

   Health website.

          151.    She spoke with a Simple Health sales agent and explained to the agent her

   expectations and goals from the health insurance. The agent represented that she would find

   comprehensive major medical insurance.

          152.    Watson was quoted $102.31 a month. None of what she was sold included major

   medical insurance.

          153.    Watson paid an enrollment fee of $227.31 and the first monthly payment of

   $102.31 with a credit card. She was then transferred to the verification department in which a

   representative asked her a series of questions and asked her to say “Yes” to each of them in

   succession.

          154.    Watson received an information packet directly from the HII Defendants via

   email, and membership cards directly from the HII Defendants via the U.S. mail.

          155.    In the months of February, July and August, Watson required medical

   treatment. She received bills of more than $1,577.73 for medical expenses that were not covered

   by the product he purchased through Simple Health.

          156.    Kathryn Svenson. Svenson is a citizen of Hawaii. In or around July 2018, when

   she was in her 30s, she sought her first health insurance policy in the U.S. In particular, Svenson

   sought major medical insurance that would provide full coverage including coverage in the event

   of a catastrophic injury.

          157.    She conducted a Google search about health insurance and located what she now




                                                   36
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 37 of 62

                                                                      CASE NO. 19-cv-61430-FAM


   believes was a Simple Health website. She filled out some information on the webpage and was

   contacted by Simple Health shortly thereafter.

          158.    She spoke with a Simple Health sales agent and explained to the agent her

   expectations and goals from the health insurance. The agent represented that he would find

   comprehensive major medical insurance.

          159.    Svenson was quoted $167.52 a month for a Legion Limited Medical limited

   indemnity benefit product, Freedom Spirit AD&D insurance and a monthly Med-Sense

   fee. None of what she was sold included major medical insurance.

          160.    Svenson paid an enrollment fee and the first monthly payment of $167.52 with

   her credit card. She was then transferred to the verification department.

          161.    Svenson received an information packet directly from the HII Defendants via

   email, and membership cards directly from the HII Defendants via the U.S. mail.

          162.    In February 2019, Svenson was involved in an incident in which she required

   medical treatment for her finger due to a serious accident. She sought medical treatment,

   expecting it to be covered by insurance, but instead received bills of more than $5000 for

   medical expenses that were not covered by the product she purchased through Simple Health.

   K.     Defendants Knew About and Directed the Fraudulent Scheme

          163.    The HII Defendants and Kosloske had actual knowledge of, and directed,

   managed, operated and/or conspired to the fraudulent scheme.

          164.    The HII Defendants’ Role as Training and Compliance Monitor.            The HII

   Defendants’ SEC filings acknowledge that “[w]e provide the distributors with training, audit and

   other support, and monitoring, and we continue to improve our distributor compliance.” The HII

   Defendants’ employees specifically provided call training and compliance monitoring to agents




                                                    37
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 38 of 62

                                                                         CASE NO. 19-cv-61430-FAM


   at Simple Health’s and Nationwide Health’s headquarters in Broward County.              The HII

   Defendants often stationed its employees in-house to oversee compliance and conduct

   compliance interviews of the sales agents.

          165.    As part of this training and compliance process, the HII Defendants’

   representatives reviewed the misleading scripts and at times directed or suggested edits to be

   made to those scripts. The HII Defendants’ “Call Center Quality Department” monitored and

   critiqued the sales agents’ presentations, which were read verbatim from the script. Transcripts

   of those calls, and the Quality Department’s critiques, were received, acknowledged and read by

   the HII Defendants’ Vice President of Sales, Amy Brady. The HII’s Defendants’ representatives

   also discussed the script, and the sales pitches, with distributor sales agents.

          166.    The HII Defendants’ Role as Third-Party Administrator.              As third-party

   administrator, the HII Defendants provided post-sale customer service to consumers who

   purchased limited benefit disability insurance through Simple Health and Nationwide Health. As

   the HII Defendants state in their SEC filings, the HII Defendants managed the “non-claims

   related experience” of consumers signed up through Simple Health and Nationwide Health. The

   HII Defendants also acknowledged in those filings that the HII Defendants had received

   complaints from consumers that the information they were provided “was not accurate or was

   misleading.”

          167.    From the beginning of its relationship with Simple Health, for example, the HII

   Defendants received thousands of calls from consumers complaining that they had been led to

   believe they had bought comprehensive medical insurance through Simple Health. The HII

   Defendants categorized these complaints with the moniker “Agent Misrep.” The following chart

   shows the complaint types received by the HII Defendants in 2018:




                                                     38
       Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 39 of 62

                                                                                       CASE NO. 19-cv-61430-FAM


                         Complaint Type                                                  Total
                         Agent Misrep Obamacare (ACA)                                             62
                         Agent Misrep on Copay/Coinsurance/Deductible/Cash Benefits               87
                         Agent Misrep on Policy Coverages                                        488
                         Agent Misrep on Policy Type                                             130
                         Agent Misrep on Pre-existing Coverage                                     28
                         Agent Misrep on Providers in Network                                     69
                         Ancillary Continues to Bill after Core terminated (Agent)                13
                         Ancillary not Cancelled with Core (Agency)                                 5
                         Ancillary not Cancelled with Core (HII)                                    5
                         Ancillary Policy not Authorized                                          71
                         Information never received (agent)                                        11
                         Information never received (HII)                                           9
                         Member threatening regulatory complaint                                   15
                         Policy not authorized                                                    27
                         Unable to Reach Agent                                                      5

                  168.      The following chart shows the complaint types received by the HII Defendants in

          2017:
169.



                         Complaint Type                                                  Total
                         Agent Misrep Obamacare (ACA)                                            384
                         Agent Misrep on Copay/Coinsurance/Deductible /Cash Benefits             171
                         Agent Misrep on Policy Coverages                                        944
                         Agent Misrep on Policy Type                                             258
                         Agent Misrep on Pre-existing Coverage                                     21
                         Agent Misrep on Providers in Network                                    102
                         Ancillary Continues to Bill after Core terminated (Agent)                 25
                         Ancillary not Cancelled with Core (Agency)                               22
                         Ancillary not Cancelled with Core (HII)                                   13
                         Ancillary Policy not Authorized                                         177
                         Information never received (agent)                                        15
                         Information never received (HII)                                         42
                         Member threatening regulatory complaint                                  62
                         Policy not authorized                                                    95
                         Unable to Reach Agent                                                      4




                                                                   39
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 40 of 62

                                                                                CASE NO. 19-cv-61430-FAM


   The following chart shows the complaint types received by the HII Defendants in 2016:

                  Complaint Type                                                  Total
                  Agent Misrep                                                            1146
                  Agent Misrep Obamacare (ACA)                                              33
                  Agent Misrep on Copay/Coinsurance/Deductible /Cash Benefits               47
                  Agent Misrep on Policy Coverages                                         170
                  Agent Misrep on Policy Type                                                53
                  Agent Misrep on Pre-existing Coverage                                       7
                  Agent Misrep on Providers in Network                                        5
                  Agent Never Cancelled Policy                                             287
                  Ancillary Continues to Bill after Core terminated (Agent)                   2
                  Ancillary not Cancelled with Core (Agency)                                  5
                  Ancillary not Cancelled with Core (HII)                                     4
                  Ancillary Policy not Authorized                                           21
                  Ancillary Product Billing                                                   5
                  Benefits                                                                  65
                  Claims                                                                     28
                  Information never received                                                79
                  Member threatening regulatory complaint                                     4
                  Obamacare (PPACA)                                                          14
                  Unable to Reach Agent                                                       1

           170.      The following chart shows the complaint types received by the HII Defendants in

   2015:

                  Complaint Type                                                  Total
                  Agent Misrep                                                            224
                  Ancillary Product Billing                                                 14
                  Benefits                                                                   6
                  Claims                                                                     9
                  Unable to Reach Agent                                                      1

           171.      As part of the HII Defendants’ role as third-party administrator, the HII

   Defendants also processed thousands of refunds to Simple Health and Nationwide Health

   customers seeking to cancel their limited indemnity plan because it was not what they thought

   they were purchasing.

           172.      HPIH’s Licensed Agents Worked in Simple Health’s Broward County Office.

   More than 40 sales agents working at Simple Health registered their licenses through Defendant



                                                         40
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 41 of 62

                                                                       CASE NO. 19-cv-61430-FAM


   HPIH. Those agents saw and used the misleading scripts.

           173.    The HII Defendants Were Aware of the Misleading Websites.                 The HII

   Defendants’ employees and agents also saw the misleading websites and their use of names like

   Cigna, Blue Cross and Aetna, as well as logos for the AARP and BBB. The limited indemnity

   products that Defendants sold through Simple Health and Nationwide Health were not offered

   through major healthcare insurers like Cigna, Blue Cross, Aetna and others.

           174.    The HII Defendants also knew that Simple Health did not have a positive BBB

   rating. The BBB complained to the HII Defendants about the fact that Simple Health was

   generating numerous complaints about its business practices.

           175.    The HII Defendants Received Numerous Inquiries From State Agencies

   Regarding Simple Health’s and Nationwide Health’s Practices. The HII Defendants also knew

   about the sales practices because the HII Defendants received extensive negative regulatory

   attention as a result of those practices.

           176.    For example, in 2015 the state of Montana brought an action against the HII

   Defendants and several of its agents, including HBO (Simple Health) and its licensed agent,

   Spiewak. Montana alleged, among other violations, that the HII Defendants and its affiliated

   producers and licensees, including Simple Health and Spiewak, were “misrepresenting the terms

   of insurance policies at the time of sale.”

           177.    In 2016, the state of Arkansas issued a cease and desist order to the HII

   Defendants alleging that the HII Defendants and its agents, including Simple Health, “used

   fraudulent and dishonest practices in attempting to sell short-term health care plans.”

           178.    In mid-2017, the Pennsylvania Insurance Department’s Bureau of Licensing and

   Enforcement (the “PIDBLE”) began investigating the HII Defendants relating to complaints by




                                                   41
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 42 of 62

                                                                      CASE NO. 19-cv-61430-FAM


   customers who had been led to believe that they were buying ACA-compliant insurance. The

   PIDBLE determined that most of the products were administered by the HII Defendants, and

   began investigating the HII Defendants, and then investigated Simple Health as well.

          179.    In 2016, the Florida Department of Financial Services (“FDFS”) issued a Letter of

   Guidance admonishing Simple Health for using deceptive advertising that implied that Simple

   Health primarily sold ACA-compliant products, when most of the products it sold were

   indemnity products and discount plans that did not provide minimum essential coverage (or

   “MEC”) required by Obamacare.          FDFS provided these Letters of Guidance to the HII

   Defendants.    Separately, the FDFS received 10 complaints about Simple Health and 45

   complaints about the HII Defendants since 2015 relating to sales practices.

          180.    In 2017, the HII Defendants were hit with a TCPA lawsuit in which the plaintiff

   alleged that HPIH’s sales agents lure customers with brand names like Blue Cross but sell non-

   ACA-compliant plans of dubious value.         Those sales agents included Simple Health and

   Nationwide Health.

          181.    In August 2018, the California Department of Insurance penalized the HII

   Defendants, alleging that the HII Defendants were “participating in deceptive sales practices by

   misrepresenting health polices to consumers.” Those practices were carried out by, among other

   agents, Simple Health.

          182.    The State of Washington’s insurance commissioner revoked Donisi’s license after

   a consumer who purchased a limited benefit indemnity policy from Nationwide Health was left

   with $300,000 in unpaid medical expenses.

          183.    As a result of these and other state-led investigations, the HII Defendants publicly

   disclosed in 2016 that they were “reviewing the sales practices and potential unlicensed sale of




                                                   42
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 43 of 62

                                                                       CASE NO. 19-cv-61430-FAM


   insurance by third-party distributor call centers utilized by” the HII Defendants.

          184.    Ultimately, the HII Defendants have been investigated by more than 40 states

   relating to its distribution and sales practices. In December 2018, just weeks after the FTC shut

   down Simple Health, the HII Defendants entered into a regulatory settlement agreement with

   43 states in which the HII Defendants agreed to, among other conditions, require its external

   distributors to record all internal and external sales calls; prepare and implement a “disclosures

   plan” aimed at ensuring that consumers be made aware of policy details and fees at the time they

   purchase insurance products; prepare and implement a “compliance plan” to monitor and

   improve sales practices; prepare and implement a “training plan” to train internal and external

   sales agents to comply with insurance laws; and pay a $3.4 million penalty.

   L.     The HII Defendants Substantially Assisted the Ongoing Scheme

          185.    The HII Defendants substantially assisted the ongoing misrepresentations and

   breaches of fiduciary duty to consumers, including Class Plaintiffs and class members, in

   numerous ways.

          186.    The HII Defendants Financed Simple Health’s and Nationwide Health’s

   Operations. The HII Defendants financed Simple Health’s and Nationwide Health’s operations

   in the form of loans that they called “advanced commissions.”             In 2015 alone, the HII

   Defendants loaned Simple Health more than $15 million. That number increased each year.

          187.    Without the HII Defendants’ financing of its commissions, Simple Health and

   Nationwide Health would not have been able to operate. With the HII Defendants’ money,

   Simple Health and Nationwide Health thrived, which in turn generated millions of dollars in fees

   and premiums for the HII Defendants. Simple Health stated publicly that it had “an important,

   strategic relationship with” the HII Defendants.




                                                      43
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 44 of 62

                                                                     CASE NO. 19-cv-61430-FAM


          188.    The HII Defendants Acted as Third-Party Administrator. The HII Defendants

   also acted as third-party administrator, collecting payments from consumers who purchased

   through Simple Health and Nationwide Health, accounting for those payments and then either

   distributing to Simple Health and Nationwide Health its commission or using that commission to

   pay down the HII Defendants’ loan.

          189.    The HII Defendants also directed other services for customers obtained through

   Simple Health and Nationwide Health, including the processing of enrollment forms, verification

   of eligibility for coverage, providing fulfilment documents to members, member support calls

   and other support activities.

          190.    The HII Defendants Directed Simple Health and Nationwide Health to Use Their

   Online Platform. The HII Defendants also provided Simple Health and Nationwide Health with

   access to the HII Defendants’ online platform, which Simple Health’s and Nationwide Health’s

   agents used to quote and sell various products from the HII Defendants’ carriers.

          191.    The HII Defendants Facilitated Simple Health’s Licensing Requirements. Simple

   Health’s licensing requirements were covered primarily by the license of its managing agent,

   Spiewak. When Spiewak resigned, Simple Health needed a replacement. The HII Defendants

   directed Simple Health’s agents to become licensed through HPIH.

          192.    The HII Defendants Paid High Commissions. The HII Defendants incentivized

   Simple Health’s and Nationwide Health’s operations with extremely high commissions. The HII

   Defendants paid 45% to 60% of the consumer fees and premiums it collected to Simple Health

   and Nationwide Health, a much higher rate than were paid out for traditional insurance products.

          193.    The HII Defendants Covered Simple Health’s Legal Fees Arising Out of State

   Regulatory Investigations. The HII Defendants and Simple Health’s sales practices attracted




                                                  44
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 45 of 62

                                                                        CASE NO. 19-cv-61430-FAM


   numerous state regulatory investigations. In some if not all such instances, including but not

   limited to the Montana investigation, the HII Defendants paid for Simple Health’s legal fees to

   address those investigations.

           194.       The HII Defendants also withheld significant relevant information from

   regulators.    For example, Massachusetts’ attorney general filed a petition to force the HII

   Defendants to provide sales scripts, recordings, consumer complaints and audits and “secret

   shopper” reports. Massachusetts complained that the HII Defendants had given “inadequate and

   incomplete” sworn testimony to investigators.

   M.      The Scheme Caused Class Plaintiffs and Putative Class Members to Suffer Damages

           195.       By deceptively presenting the products sold to Class Plaintiffs and class members

   as comprehensive medical insurance, Defendants induced Class Plaintiffs and class members to

   buy those products. Class Plaintiffs and class members paid fees and premiums that they

   otherwise would not have paid in the absence of the misrepresentations and omissions. And the

   actual value of the products they bought were less than what they bargained for and/or were led

   to expect through Defendants’ misrepresentations and omissions.

           196.       Class Plaintiffs and Class Members Pay Fees and Premiums. Relying on the

   misrepresentations, Class Plaintiffs and all class members paid an enrollment fee of between $60

   and $175. A portion of the enrollment fee went to the HII Defendants, and the other portion to

   the distributor.

           197.       Also relying on the misrepresentations, Class Plaintiffs and class members paid a

   first monthly premium during enrollment ranging from $40 to $700. A portion of the first

   monthly premium went to the HII Defendants, another portion went to the distributor and the

   remainder went to the plan providers. Class Plaintiffs and class members then paid similar




                                                     45
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 46 of 62

                                                                    CASE NO. 19-cv-61430-FAM


   monthly premiums from there on.

           198.   The HII Defendants have continued to bill and collect money from consumers

   even after the FTC shut down Simple Health in October 2018. From December 2018 through

   February 2019, the HII Defendants have charged customers 165,798 times, totaling

   approximately $14.6 million and resulting in commissions owed to Simple Health of $4.6

   million.

           199.   Class Plaintiffs and Class Members Incur Medical Expenses That Would Have

   Been Covered by Comprehensive Medical Insurance. As a result of the scheme, Class Plaintiffs

   and class members suffered damages by paying for medical expenses that would have been

   covered had they not been induced to purchase limited benefit indemnity and medical discount

   plans, and instead purchased an ACA-Compliant plan.

           200.   For example, Mitchell received more than $40,000 for surgery and medical bills

   arising out of his cancer diagnosis.    He received only $450 in benefits through the HII

   Defendants’ plan, despite paying nearly $5,000 in premiums over the previous two years.

   Similarly, Belin received approximately $48,000 in medical bills relating to her knee surgery,

   which she continues to pay off.

           201.   By misleading customers to believe that they were purchasing major medical

   insurance, but selling those customers limited benefit indemnity plans and medical discount

   plans at inflated prices, the HII Defendants through the Enterprise foreseeably caused Class

   Plaintiffs and class members to overpay for those products. For those Class Plaintiffs and class

   members who are members of the Medical Expense Subclass, this caused another foreseeable

   injury: the accrual of medical expenses that would have been covered by an ACA-Compliant

   plan.




                                                 46
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 47 of 62

                                                                     CASE NO. 19-cv-61430-FAM


   N.     The FTC Shuts Down Simple Health

          202.    On October 29, 2018, the FTC filed a lawsuit against Simple Health and Dorfman

   alleging misrepresentations in violation of the FTC Act. Specifically, the FTC alleged that

   Simple Health misled consumers to believe they were buying comprehensive medical insurance

   instead of limited benefit indemnity plans and medical discount plans.

          203.    On October 31, 2018, Judge Darrin Gayles of the U.S. District Court for the

   Southern District of Florida entered a temporary restraining order and appointed Goldberg as

   interim receiver to take control of Simple Health.

          204.    The HII Defendants terminated the Simple Health MGAA and MCAA on

   November 2, 2018.

          205.    On April 16, 2019, Judge Gayles held an evidentiary hearing on the FTC’s motion

   for preliminary injunction. On May 14, 2019, Judge Gayles entered an order granting the

   motion, and appointed Goldberg as permanent receiver.         The Court found that “[t]hough

   consumers believed they were purchasing comprehensive health insurance coverage, [Simple

   Health] sold them practically worthless limited indemnity or discount plans.”

          206.    The Court also found that Simple Health made numerous misrepresentations,

   including that i) the limited benefit indemnity plans were comprehensive medical insurance; ii)

   the limited benefit indemnity plans were qualified health insurance plans under the ACA; iii)

   Simple Health was an expert on, or provider of, government-sponsored health insurance policies;

   and iv) Simple Health was affiliated with AARP and major medical providers like BCBS.

                                       RICO ALLEGATIONS

          207.    The HII Defendants, Simple Health, Nationwide Health, their officers and

   employees, including but not limited to Kosloske, Dorfman, Spiewak, Donisi and Jaxtheimer, as




                                                   47
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 48 of 62

                                                                       CASE NO. 19-cv-61430-FAM


   well as independent contractors, third-party subagents, Med-Sense and the John Doe Entities

   operated, managed, directed and/or conspired with an associated-in-fact enterprise (the

   “Enterprise”).    The Enterprise sold or distributed limited benefit indemnity plans, medical

   discount plans and other non-ACA-compliant products to consumers who thought they were

   purchasing comprehensive medical insurance.          The purpose was to deceptively maximize

   profitability — to take cheap and relatively worthless products, bundle them and then represent

   them as something more valuable and expensive (major medical insurance) so as to sell the

   products at an unfair premium.

          208.      The Enterprise used the wires and mails to perpetrate the fraud. Simple Health

   and Nationwide Health used a standardized script to make misrepresentations and omissions to

   Class Plaintiffs and class members over the phone, as well as to obtain and process payment

   information. The HII Defendants then sent each Class Plaintiff and class member a packet of

   confirmatory documentation via email or U.S. mail.            The HII Defendants also monitored

   numerous sales calls by Simple Health and Nationwide Health agents.

          209.      Throughout its existence, the Enterprise engaged in, and its activities affected,

   interstate commerce. The Enterprise involved commercial activities across state lines, including

   marketing campaigns, phone solicitations and the solicitation and receipt of money from Class

   Plaintiffs and class members across the country.

          210.      The HII Defendants and Kosloske participated in the operation and management

   of the Enterprise’s affairs, through among other methods and means, the following:

                    a.     Developing the products to be sold;

                    b.     Developing the third-party distribution channel that ran through Simple

          Health and Nationwide Health;




                                                   48
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 49 of 62

                                                                     CASE NO. 19-cv-61430-FAM


                   c.     Loaning millions of dollars to Simple Health and Nationwide Health to

          finance their operations;

                   d.     Training Simple Health’s and Nationwide Health’s sales agents;

                   e.     Monitoring compliance functions, including but not limited to monitoring

          sales calls;

                   f.     Collecting monthly premiums from customers;

                   g.     Accounting for, auditing and distributing the commissions and proceeds of

          those sales;

                   h.     Dealing with and providing customer service to customers following those

          sales;

                   i.     Reviewing and approving the scripts;

                   j.     Controlling the delivery of “membership cards” to customers;

                   k.     Allowing and coordinating dozens of Simple Health sales agents to

          register their licenses through the HII Defendants;

                   l.     Directing and paying for legal costs incurred by Simple Health arising out

          of regulatory investigations; and

                   m.     Directing Simple Health and Nationwide Health to use the HII

          Defendants’ online platform to quote and sell the HII Defendants’ products.

          211.     Regarding Kosloske specifically, he approved the products to be sold; recruited

   agents like Dorfman, Spiewak, Donisi and Jaxheimer; developed distribution channels through

   their companies; approved the HII Defendants’ financing of those companies; and participated in

   the management and operation of the Enterprise’s compliance, training and administrative

   functions.




                                                  49
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 50 of 62

                                                                        CASE NO. 19-cv-61430-FAM


          212.    The HII Defendants and Kosloske were knowing and willing participants in the

   Enterprise and its scheme, and reaped revenues and/or profits therefrom.

          213.    The HII Defendants have an ascertainable structure separate and apart from the

   pattern of racketeering activity in which the HII Defendants and Kosloske have engaged. The

   Enterprise is separate and distinct from the HII Defendants and Kosloske.

          214.    The HII Defendants, who are persons associated-in-fact with the Enterprise,

   knowingly, willfully and unlawfully conducted or participated, directly or indirectly, in the

   affairs of the Enterprise through a pattern of racketeering activity within the meaning of 18

   U.S.C. §§ 1961(1), (5) and 1962(c). The racketeering activity was made possible by the regular

   and repeated use of the facilities, services, distribution channels and agents of the Enterprise.

          215.    The HII Defendants committed multiple racketeering acts, including aiding and

   abetting such acts. The racketeering acts were not isolated, but rather were related in that they

   had the same or similar purposes and results, participants, victims and methods of commission.

   Further, the racketeering acts were continuous, occurring on a regular (daily) basis throughout a

   time period beginning in 2013 through November 2, 2018.

          216.    The HII Defendants’ and Kosloske’s predicate racketeering acts within the

   meaning of 18 U.S.C. § 1961(1) include, but are not limited to:

                  a.      Mail Fraud. The HII Defendants and Kosloske violated 18 U.S.C. § 1341

          by sending or receiving, or causing to be sent or received, materials via U.S. mail or

          commercial interstate carriers for the purpose of executing the scheme, which used

          material misrepresentations and omissions to induce consumers, including Class

          Plaintiffs and class members, to purchase limited benefit indemnity plans, medical

          discount plans and other products. The materials that the HII Defendants sent or received




                                                    50
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 51 of 62

                                                                     CASE NO. 19-cv-61430-FAM


          include but were not limited to enrollment packets containing “membership cards,”

          billing statements, customer service-related letters and customer payments.

                  b.      Wire Fraud. The HII Defendants and Kosloske violated 18 U.S.C. § 1343

          by transmitting or receiving, or causing to be transmitted or received, materials by wire

          and/or email for the purpose of executing the scheme, which used material

          misrepresentations and omissions to induce consumers, including Class Plaintiffs and

          class members, to purchase limited benefit indemnity plans, medical discount plans and

          other products. The information and materials transmitted and/or received include but

          were not limited to misrrepresentations and omissions about the nature of the products

          being sold, payment wires, interstate credit card transactions, invoices, customer service-

          related letters and emails promoting the scheme, such as introductory emails.

          217.    In devising and executing the scheme, the HII Defendants and their personnel,

   including Kosloske, committed acts constituting indictable offenses under 18 U.S.C. §§ 1341 and

   1343, in that they directed and carried out a scheme or artifice to defraud or obtain money by

   means of materially false misrepresentations or omissions. For the purpose of executing the

   scheme, the HII Defendants and Kosloske committed or caused to be committed these

   racketeering acts, which number in the thousands, intentionally and knowingly, with the specific

   intent to advance the scheme.

          218.    The HII Defendants and Kosloske participated in the operation and management

   of the Enterprise by directing its affairs, as described above.

          219.    The HII Defendants and Kosloske had knowledge of the essential nature of the

   scheme. They knew that distrbutors including Simple Health and Nationwide Health were using

   misreprentations and omissions to induce customers seeking major medical insurance to




                                                    51
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 52 of 62

                                                                      CASE NO. 19-cv-61430-FAM


   purchase relatively worthless limited benefit indemnity products and medical discount plans.

   Despite that knowledge, the HII Defendants and Kosloske committed the predicate acts of wire

   and mail fraud described above.

                                CLASS ACTION ALLEGATIONS

          220.   Class Plaintiffs bring this lawsuit as a class action on behalf of themselves and all

   others similarly situated as members of the proposed Classes described as follows:

          All individuals who purchased the HII Defendants’ limited benefit indemnity
          plans through Simple Health or Nationwide Health on or after June 7, 2015, and
          paid an enrollment fee and/or a premium.

          Medical Expense Subclass. All individuals who purchased the HII Defendants’
          limited benefit indemnity and medical discount plans through Simple Health or
          Nationwide Health on or after June 7, 2015, paid an enrollment fee and/or a
          premium and incurred a medical expense that would have been covered had they
          not been induced to purchase the plan(s).

          221.   Excluded from the Classes are the HII Defendants and their directors, officers,

   employees or independent contractors, or the former directors, officers, employees or

   independent contractors of Simple Health or Nationwide Health.

          222.   This action may be maintained as a class action pursuant to Rule 23 of the Federal

   Rules of Civil Procedure, because it meets all the requirements of Rule 23(a)(1-4), including the

   numerosity, commonality, typicality and adequacy requirements, and it satisfies the requirements

   of Rule 23(b)(3) in that the predominance and superiority requirements are met.

          223.   Numerosity. The members of the Classes are so numerous that joinder of all

   members is impracticable. Although Class Plaintiffs do not know the exact number of class

   members as of the date of filing, the HII Defendants sold hundreds of thousands of limited

   benefit indemnity and medical discount plans through Simple Health and Nationwide Health to

   class members throughout the United States.

          224.   Commonality. There are numerous questions of fact or law that are common to


                                                  52
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 53 of 62

                                                                      CASE NO. 19-cv-61430-FAM


   Class Plaintiffs and all the members of the Classes. Common issues of fact and law predominate

   over any issues unique to individual class members.        Issues that are common to all class

   members include, but are not limited to the following:

          (a)    Whether Defendants and the distributors engaged in a common, scripted scheme

                 whereby the distributor’s agents made uniform material misrepresentations and

                 omissions to consumers, including Class Plaintiffs and class members, to induce

                 them to believe they would receive comprehensive medical insurance when, in

                 reality, consumers received a limited benefit indemnity plan and/or medical

                 discount plan;

          (b)    Whether Defendants directed, operated and/or managed the scheme;

          (c)    Whether Defendants had actual knowledge of the scheme;

          (d)    Whether Defendants, despite actual knowledge of the scheme, substantially

                 assisted it;

          (e)    Whether Simple Health and Nationwide Health had a fiduciary duty to

                 consumers, including Class Plaintiffs and class members;

          (f)    Whether Defendants violated 18 U.S.C. § 1962(c) or (d);

          (g)    Whether Class Plaintiffs and class members suffered damages;

          (h)    Whether Defendants must disgorge the profits; and

          (i)    Whether Class Plaintiffs and class members are entitled to treble damages,

                 punitive damages, attorneys’ fees and/or expenses.

          225.   Typicality. Class Plaintiffs have claims that are typical of the claims of all of the

   members of the Class. Class Plaintiffs’ claims and all of the class members’ claims arise out of




                                                  53
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 54 of 62

                                                                       CASE NO. 19-cv-61430-FAM


   the same uniform and scripted scheme. Furthermore, those claims arise under legal theories that

   apply to Class Plaintiffs and all other class members.

           226.     Adequacy of Representation. Class Plaintiffs will fairly and adequately represent

   the interests of the members of the Classes. Class Plaintiffs do not have claims that are unique to

   Class Plaintiffs and not the other class members, nor are there defenses unique to Class Plaintiffs

   that could undermine the efficient resolution of the claims of the Class. Further, Class Plaintiffs

   are committed to the vigorous prosecution of this action and have retained competent counsel,

   experienced in class action litigation, to represent it.     There is no hostility between Class

   Plaintiffs and the unnamed class members.          Class Plaintiffs anticipate no difficulty in the

   management of this litigation as a class action.

           227.     Predominance. Common questions of law and fact predominate over questions

   affecting only individual class members. The only individual issues likely to arise will be the

   amount of damages recovered by each class member, the calculation of which does not bar

   certification.

           228.     Superiority. A class action is superior to all other feasible alternatives for the

   resolution of this matter. Individual litigation of multiple cases would be highly inefficient and

   would waste the resources of the courts and of the parties. The fees and premiums sought by

   Class Plaintiffs and class members are relatively small and unlikely to warrant individual

   lawsuits given the fees and costs, including expert costs, required to prosecute claims for those

   fees and premiums.

           229.     Manageability. This case is well suited for treatment as a class action and easily

   can be managed as a class action since evidence of both liability and damages can be adduced,




                                                      54
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 55 of 62

                                                                         CASE NO. 19-cv-61430-FAM


   and proof of liability and damages can be presented, on a classwide basis, while the allocation

   and distribution of damages to class members would be essentially a ministerial function.

                                            COUNT I
                       (Violation of RICO § 1962(c) Against All Defendants)

           230.     Class Plaintiffs incorporate the allegations of paragraphs 1 through 229 as if fully

   set forth herein.

           231.     The Enterprise is engaged in, and its activities affect, interstate commerce.

           232.     Defendants are entities or individuals capable of holding a legal or beneficial

   interest in property, and therefore each meet the definition of a culpable “person” under 18

   U.S.C. § 1961.

           233.     Defendants were associated with the Enterprise and conducted and participated in

   the Enterprise’s affairs through a pattern of racketeering activity, as defined by 18 U.S.C. §

   1961(5), comprised of numerous and repeated uses of the mails and interstate wire

   communications to execute a scheme to defraud in violation of 18 U.S.C. § 1962(c).

           234.     The Enterprise was created and/or used as a tool to carry out the scheme and

   pattern of racketeering activity.

           235.     Defendants have committed or aided and abetted the commission of at least two

   acts of racketeering activity, i.e., indictable violations of 18 U.S.C. §§ 1341 and 1343, within the

   past 10 years. The multiple acts of racketeering activity that they committed and/or conspired to,

   or aided and abetted in the commission of, were related to each other and constituted a “pattern

   of racketeering activity.”

           236.     Defendants used thousands of interstate mail, wire and email communications to

   create and perpetuate the scheme in support of the uniform misrepresentations and omissions

   made by sales agents to consumers, including Class Plaintiffs and class members.



                                                     55
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 56 of 62

                                                                      CASE NO. 19-cv-61430-FAM


          237.     Defendants knew about and directed the material misrepresentations and

   omissions being made to consumers. Defendants obtained money and property belonging to

   Class Plaintiffs and class members as a result of these violations. Class Plaintiffs and class

   members have been injured in their business or property by Defendants’ overt acts of mail and

   wire fraud.

          238.     Class Plaintiffs and class members have been injured in their property by reason

   of Defendants’ violations of 18 U.S.C. § 1962, including payment of the enrollment fee and

   monthly premiums, which collectively amount to tens of millions of dollars, for products that

   were not comprehensive medical insurance. Class Plaintiffs and class members in the Medical

   Expenses Subclass have also been injured by paying for medical expenses that would have been

   covered had they not been induced to purchase limited indemnity and medical discount plans,

   and instead purchased comprehenseive medical insurance.           In the absence of Defendants’

   violations of 18 U.S.C. § 1962, Class Plaintiffs and the class members would not have incurred

   these losses.

          239.     Class Plaintiffs and class members’ injuries were directly and proximately caused

   by Defendants’ racketeering activity.

          240.     Defendants knew and intended that Class Plaintiffs and class members would rely

   on the scheme’s misrepresentations and omissions. Defendants knew and intended that Class

   Plaintiffs and class members would pay fees and premiums, and would incur out-of-pocket costs

   for uncovered procedures and medication.

          241.     Under the provisions of 18 U.S.C. § 1964(c), Class Plaintiffs are entitled to bring

   this action and to recover their treble damages, the costs of bringing this suit and reasonable




                                                   56
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 57 of 62

                                                                          CASE NO. 19-cv-61430-FAM


   attorney’s fees. Defendants are liable to Class Plaintiffs and class members for three times their

   actual damages as proved at trial plus interest and attorneys’ fees.

             WHEREFORE, Class Plaintiffs, individually and on behalf of all others similarly

   situated, pray this Court to enter judgment against Defendants that awards actual damages, treble

   damages and attorney’s fees, and/or such other and further relief as the Court deems just and

   proper.

                                             COUNT II
                       (Section 1962(d) RICO Conspiracy Against All Defendants)

             242.   Class Plaintiffs incorporate the allegations of paragraphs 1 through 229 as if fully

   set forth herein.

             243.   Defendants agreed and conspired to violate 18 U.S.C. § 1962(c). Specifically,

   Defendants conspired to conduct and participate in the conduct of the affairs of the Enterprise

   through a pattern of racketeering activity.

             244.   With knowledge of the essential nature of the scheme, Defendants have

   intentionally conspired and agreed to directly and indirectly conduct and participate in the

   conduct of affairs of the Enterprise through a pattern of racketeering activity. Defendants

   committed predicate acts that they knew were part of a pattern of racketeering activity and

   agreed to the commission of those acts to further the schemes described above. That conduct

   constitutes a conspiracy to violate 18 U.S.C. § 1962(c), in violation of 18 U.S.C. § 1962(d).

             245.   As a direct and proximate result of Defendants’ conspiracy, the overt acts taken in

   furtherance of that conspiracy, and violations of 18 U.S.C. § 1962(d), Plaintiffs have been

   injured in their business or property.

             WHEREFORE, Class Plaintiffs, individually and on behalf of all others similarly

   situated, pray this Court to enter judgment against Defendants that awards actual damages, treble



                                                     57
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 58 of 62

                                                                        CASE NO. 19-cv-61430-FAM


   damages and attorney’s fees, and/or such other and further relief as the Court deems just and

   proper.

                                           COUNT III
        (Aiding and Abetting a Violation of RICO Section 1962(c) Against All Defendants)

             246.   Class Plaintiffs incorporate the allegations of paragraphs 1 through 229 as if fully

   set forth herein.

             247.   Defendants aided and abetted and shared the intent to aid and abet a scheme to

   violate 18 U.S.C. § 1962(c), specifically, a scheme that used materially false and misleading

   statements and omissions to mislead Class Plaintiffs and class members to believe they were

   buying comprehensive medical insurance.

             248.   Defendants each had knowledge of the scheme and provided substantial

   assistance toward its commission.

             249.   Defendants substantially benefited from their participation in the scheme, earning

   millions of dollars of fees and other revenue from Class Plaintiffs and class members.

             250.   As a direct and proximate result of Defendants’ aiding and abetting of predicate

   acts of a Section 1962(c) RICO violation, Class Plaintiffs and class members have suffered

   damages in an amount to be determined at trial.

             WHEREFORE, Class Plaintiffs, individually and on behalf of all others similarly

   situated, pray this Court to enter judgment against Defendants that awards actual damages, treble

   damages and attorney’s fees, and/or such other and further relief as the Court deems just and

   proper.




                                                     58
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 59 of 62

                                                                       CASE NO. 19-cv-61430-FAM


                                          COUNT IV
          (Aiding and Abetting a Breach of Fiduciary Duty Against the HII Defendants)

           251.    Class Plaintiffs incorporate the allegations of paragraphs 1 through 229 as if fully

   set forth herein.

           252.    The HII Defendants’ distributors fostered a special relationship with Class

   Plaintiffs and class members that engendered fiduciary duties of loyalty, care, honesty and/or

   good faith.

           253.    As set forth above, Simple Health and Nationwide Health breached those

   fiduciary duties by perpetrating a scheme that misled Class Plaintiffs and class members to

   believe they were buying comprehensive medical insurance.

           254.    The HII Defendants substantially assisted in Simple Health’s and Nationwide

   Health’s breaches of fiduciary duty with knowledge that Simple Health and Nationwide Health

   were breaching those duties.

           255.    As a direct and proximate result of the HII Defendants’ aiding and abetting

   Simple Health’s and Nationwide Health’s breaches of fiduciary duty, Class Plaintiffs and class

   members have suffered damages in an amount to be determined at trial, and/or are entitled to the

   disgorgement of the HII Defendants’ profits therefrom.

           WHEREFORE, Class Plaintiffs, on behalf of themselves and all similarly-situated class

   members, respectfully demand judgment against the HII Defendants for their damages;

   disgorgement of the HII Defendants’ profits on fees and premiums; punitive damages; pre- and

   post-judgment interest; and/or such other and further relief as the Court deems just and proper.




                                                    59
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 60 of 62

                                                                       CASE NO. 19-cv-61430-FAM


                                             COUNT V
                       (Aiding and Abetting Fraud Against the HII Defendants)

           256.    Class Plaintiffs incorporate the allegations of paragraphs 1 through 229 as if fully

   set forth herein.

           257.    As set forth above, Simple Health and Nationwide Health perpetrated a fraud

   upon Class Plaintiffs and class members through materially false and misleading statements and

   omissions that misled Class Plaintiffs and class members to believe they were buying

   comprehensive medical insurance. Simple Health and Nationwide Health knew these statements

   to be false.

           258.    The misrepresentations stemmed from standardized scripts presented by sales

   agents to Class Plaintiffs and class members. Class Plaintiffs and class members reasonably

   relied to their detriment upon those misrepresentations, and purchased relatively worthless

   limited benefit indemnity plans and/or medical discount plans.

           259.    The HII Defendants substantially assisted Simple Health and Nationwide Health

   with knowledge that Simple Health and Nationwide Health were defrauding consumers like

   Class Plaintiffs and class members.

           260.    In connection with providing substantial and material assistance to Simple Health

   and Nationwide Health, the HII Defendants knew of their role in their scheme, and acted

   knowingly in assisting.

           261.    The HII Defendants substantially benefited from their participation in the scheme,

   earning millions of dollars of fees and other revenue from Class Plaintiffs and class members.

           262.    As a direct and proximate result of the HII Defendants’ aiding and abetting the

   fraud, Class Plaintiffs and class members have suffered damages in an amount to be determined

   at trial, and/or are entitled to the disgorgement of the HII Defendants’ profits therefrom.



                                                    60
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 61 of 62

                                                                       CASE NO. 19-cv-61430-FAM


           WHEREFORE, Class Plaintiffs, on behalf of themselves and all similarly-situated class

   members, respectfully demand judgment against Defendants for their damages; disgorgement of

   Defendants’ profits on fees and premiums; punitive damages; pre- and post-judgment interest;

   and/or such other and further relief as the Court deems just and proper.

                                           COUNT VI
                          (Unjust Enrichment Against the HII Defendants)

           263.    Class Plaintiffs incorporate the allegations of paragraphs 1 through 229 as if fully

   set forth herein.

           264.    Class Plaintiffs and class members conferred benefits upon the HII Defendants in

   the form of fees and premiums paid to the HII Defendants.

           265.    The HII Defendants knowingly and voluntarily accepted, and retained, those

   benefits.

           266.    For the reasons described above, it would be inequitable for the HII Defendants to

   retain those benefits, including profits derived from those benefits.

           WHEREFORE, Class Plaintiffs, on behalf of themselves and all similarly-situated class

   members, respectfully demand judgment against the HII Defendants for the return of the portion

   of fees and premiums retained by the HII Defendants; disgorgement of the HII Defendants’

   profits on fees and premiums; pre- and post-judgment interest; and/or such other and further

   relief as the Court deems just and proper.

                                     JURY TRIAL DEMANDED

           Class Plaintiffs hereby demand a trial by jury on all allowable claims and forms of relief.




                                                    61
Case 0:19-cv-61430-AHS Document 18 Entered on FLSD Docket 07/17/2019 Page 62 of 62

                                                          CASE NO. 19-cv-61430-FAM


   Dated: June 17, 2019.                     Respectfully submitted,

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                                        62
